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     Emily Elizabeth Cohen, Petitioner  v.  The People of the State of Colorado Respondent No. 24SC564Supreme Court of Colorado, En BancDecember 16, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 22CA77
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
      JUSTICE BERKENKOTTER does not participate.
    